       CASE 0:20-cv-01433-PAM-TNL Doc. 45 Filed 01/11/21 Page 1 of 19



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                                                                 fSY ft'$A$il
        UNITED STATES DISTRICT COURT
                                                                  JAN i I2"i1
               DISTRICT OF MINNESOTA
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                                                           .   U.S. DI$TRICT DOURT
                                                           MINNEArcLE, MINNESOTA



Marc Amouri Bakambia
          Vs.                               Case No. 20-cv- 1 433 -PAM/I(MM
Paul P. Schnell; Vicki Janssen; Jesse Pugh;   Judge : Katherine M. Menendez
Clemons; E. Rasmussen; Gary Peterson;           Paul Magnuson, Senior Judge
Paul Gammel; Kenneth Peterson; David Schmitt;
Scott Maki; Tyler Nelson; Tatum et al;
in their individual and official                DEMAND FOR JURY TRIAL
Capacities.                                               YES


                 PLAINTIFF'' S FIRST AMENDED
                            COMPLAINT

PARTItrS

   l. a. Plaintiff

       Name                   Marc Amouri Bakambia

        Street Address         97o Pickett Street North

        County & City         Washington, Bayport

        State &. Zip Code      Minnesota 55oo\



       Phone Number            657-779- 2747
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2. Defendants

  a. Defendant No. I

     Name                  Paul P. Schnell, MN DOC Commissioner

    Street   Address       l45o Energy Park Drive, Suite zoo

    County &     City     Ramsey, Saint Paul


   state &.zip   code     Minnesota 551o8

   b. Defendant No. 2

     Name                 Vicki Janssen

    Street   Address       ?600 525th Street

    County &     City     Chisago, Rush City


   State &Zip    Code     Minnesota 55069

   c. Defendant No. 3

     Name                 Jesse Pugh


    Street Address         ?600 525th Street

    County &     City     Chisago, Rush City


   State &Zip    Code     MN 55069




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d. Defendant No. +

  Name               Clemons, Associate Warden Of Administration


  Street Address       7600 525th Street


  County & City         Chisago, Rush City


  State &Zip Code       MN 5506e

e. Defendant No. 5

  Name                 E. Rasmussen, Program Director (CPD)

  Street Address       7600 SzSthStreet

  County & City         Chisago, Rush City


  State &Zip Code       MN ssoog

f Defendant No. 6
  Name                 Gary Peterson, Discipline Lieutenant

  Street Address       7600 SzlthStreet

  County & City         Chisago, Rush City

  State &Zip Code       MN 5506e

g. Defendant No.
  Name                 Paul Gammel, Lieutenant




                               3
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  Street Address      7600 525th Street


  County & City       Chisago, Rush City


  State &Zip Code      MN 55069

h. Defendant No. 8

  Name                Kenneth Peterson, Lieutenant

  Street Address      7600 525th Street


  County & City        Chisago, Rush City


  State &Zip Code      MN 55069

i. Defendant No. 9
  Name                David Schmitt, Sergeant

  Street Address      ?600 525th Street


  County & City        Chisago, Rush City


  State &Zip Code      MN ssoog

j. Defendant No. to
  Name                Scott Maki, Sergeant

  Street Address      7600 525n Street

  County & City        Chisago, Rush City


  State & Zip Code     MN 55069



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    CASE 0:20-cv-01433-PAM-TNL Doc. 45 Filed 01/11/21 Page 5 of 19




  k. Defendant No. I I

     Name                  Tyler Nelson, Oflicer

     Street Address            7600 525th Street

     County & City             Chisago, Rush City

     State & Zip   Code         MN 55069

  l. Defendant No. 12
     Name                  Tatum, Oflicer

     Street Address            ?600 525th Street

     County & City             Chisago, Rush City


     state & zip code           MN 55069



g. Federal puestion

4. a. Federal Constitution: - First Amendment

                          - Eighth Amendment
                          - Fourteenth Amendment
 b. Diversity of Citizenship



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5. Basis for Jurisdiction is of Diversity:

   PlaintiffName: Marc Amouri Bakambia, Democratic Republic Of Congo

   Defendant N. I : Paul P. Schnell, Minnesota, U.S.

   Defendant N. 2: Vicki Janssen, Minnesota, U.S.

   Defendant N. 9: Jesse Paugh, Minnesota, U.S.

   Defendant N. 4: Clemons, Minnesota, U.S.

   Defendant N. 5: E. Rasmussen, Minnesota, U.S.

   Defendant N. 6: G*y Peterson, Minnesota, U.S.

   Defendant N. 7: Paul Gammel, Minnesota, U.S.

   Defendant N. 8: Kenneth Peterson, Minnesota, U.S.

   Defendant N. 9: David Schmitt, Minnesota, U.S.

   Defendant N. tO: Scott Maki, Minnesota, U.S.

   Defendant N. I l: Tyler Nelson, Minnesota ,U.S

   Defendant N. tz: Tatum, Minnesota, U.S.



6. Basis for venue in the District of Minnesota:

   a. Defendants reside in Minnesota b. Facts alleged bellow primarily
                                             occurred in Minnesota
         CASE 0:20-cv-01433-PAM-TNL Doc. 45 Filed 01/11/21 Page 7 of 19



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                   CASE 0:20-cv-01433-PAM-TNL Doc. 45 Filed 01/11/21 Page 8 of 19



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          CASE 0:20-cv-01433-PAM-TNL Doc. 45 Filed 01/11/21 Page 9 of 19




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            CASE 0:20-cv-01433-PAM-TNL Doc. 45 Filed 01/11/21 Page 10 of 19



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         CASE 0:20-cv-01433-PAM-TNL Doc. 45 Filed 01/11/21 Page 11 of 19



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             CASE 0:20-cv-01433-PAM-TNL Doc. 45 Filed 01/11/21 Page 12 of 19



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 fl\, t,l t 1"1 6f rln, ?'hi,tlt /-1/,
                                                    'ot
                                                          ,, t f..i a J ', Te,t n " ^ua^
   sn-' <'tn, 'r't' "/9 Hq lu'l ann ,Y*-t'j 4 ,ErY- ylg         r .b .{*, b.u*y
                                                                    '!lr",l-Y/'..u+i

   1*{^ ,vnl lo 14} l. ,, J t,e,t u/
                                      t n, ,r'h t i7 c     ?e,L,? t^,'lr'', { ,Y'{
                                                        {n
    /r-'"         lhk-'/                                         ''X
                                         o{/'l-^.{")t#ru,fr'hg-Ln*/mltJ          e'r "k
    %wv u.' " 6\ dlJ(4 ,

  Sq. n Atiln,r*;ry



                                                   tl
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5{,flb{wJ t u",zl tv{Atl u flu rl,*ti{ wtrqw, dn^*t f/-b" '{""r&"fu td.r'r
  fu-^,fl<" | "'9t        " , watf."t'. tS,{,\o{flt"#, t"gH*uJ
  tn'^{fu*, /",uf' '"brtf{(        t'- ^"tf {," ",.                              rout
                              lr't' ,:/*' '4f"'"^.*
    X 1, I h "1 a'r^t-n,{,u{,
  .t^ lr,'        *1t*',

3L,ftyf i. ,t^t, \1, elr s,btkt fL*( P 'u /'      " + ,,rN',H t"tj ; a{f1 l' 't
                                                "{,1


  r J" H -/ 1 P u' k{, q' ij -, +-''" lu'* t'tn r''*'         *'<"'     t, ^""t'
   ' H) ^'{, P'- *'{ rt' "9'/r,'r c,r t)/,#* "r9 "           r Hn w'" orf
 l+^ ,rL,* /-f/ " (n-      ,"9 o 'tn-"'r./ ,'it ' f ,t ftufu*l' , /'d 9/

 37" r'n f./loltq 7 ' j, Ju"t qt<,'t-A f \e*^,t turltlr ,! of,t."/ ft,tufot,
   * "'g {,'1,'i t, *f f|^ ,' ' o/o/ <f/?.*Y{ ,'.^g'lr tl ,/ ^fr'{//,o.|
 l""lrvh' L" th'-. ^< fl W,t#*- Vrf " f4"t"l'*rL- tU l,'         ftc"-,'lbf , ",r, Jnrc)
  .'''v- t^ 'r. il ,,0' t h "ffu ,' .t w,lil l%rt 'J e.{tt^^( /,"^htti at/ e ut't
                                            (trq\, I^,rt AI, ilI6
  l+* .e"re'vA "
                 N,tv'r,t& t o, fla"ln                              i.{*,';{tft r br}H-4
                           g.                                                   (

  fu" t^'anken {, l" V*t lu"i 4 ftp o,**-a af //a g.ta{ ' f .o*a-f '

 lgf      6/zrrf ',,P '*(l!-      tl^ti     t-f,Nl           *rv"gJ"?"tllru'wow
   tlqf 'r \ (' ,# r{ft* (, ' . " vfl r( {Wt . Valu*. 'ruft'{                            '


  4 r/plp, f4
                t' t gJ  ,-qlt 'u n       t            Cr*rtt v ttu tt ^4 &*t t
   lQt*"Y' ti rr(aer, ltr' t "             r'          6c&.'3 '1t| .'ug*,.'1 'tl'era^
                    q
  " ;'   r lA   /2ri1tu ug<snl




 Ltr, r,i-\/S': f ' '{, W*q tilbbfW*,                     dI 3 rt'ftdt,'r-    ' t,'1t/   '




                                          IA,
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                                         uv
     lbb r,l tt'i t" l'     t * V/ z' i

17   t, a" h..itu t          7aw,f,*,{ k, n t/t(ltq .r '!'# '/* ( {uu',,,"J r 4z
      ,zr{^ ^ t ft { t' ltt,"c{I"n+''                    t I.{''t ^''e-"f.'             a{g/tg/to

      rt<*& q,      r"f rrt n*o r^ lr f|l{' i',t*'/n ^ bI t " fda#"*"la^/   "'.'''^ '4I A4 " h
     Ur*4lhR',trtt^,t7'{ri-p& W                     a*""|a ,'{+ ,utv-h'-./{'*tr "1
                                                "
     htr-ltr,g ' r.rry rnT u' k-{t"u*ul f/'o'ek* h Fl ^*{ ", t t 'i-a-&J -1' a',
     flo*"t., Nrqf *ob "t tr't'aa,aar' ,( b-rt' ",' -' 'r -Ltt'&W'ql
      .y "<, , ', '/ M l<-e4l al/ FuJ,Lap,,^ l<i"e" "

 4), aa t /to r/' . ' " u$r {',|it %u^""h41 '$*t {" '^ {-'"                            e[-l'f t' ^
      ttnt! -wl, tt s';' ll -1 ') r",n$, ;*,0 Va.4 f . 4u4t/4 /tl,n't&r,' 'V /" '{
      A*tcr'(,,tb /" r"al- f, t t , ft"t g" " fa,&it,r<

Q3. Oqlf f tq fA4, t, t n                tl7 wertta|t { 6 a^,a^H,r,Av,,-,'* um ut 4',',.,P4'u,,.1'{t,
                                                         ^



     f(t,- " -*# '/ ',are fi nt v' ,F'{u^,i'tp.ttTln- iW{'f "
     d-P/u            frr,\rftff       lte-Vat n'uptt- 'rapf T\ffie r i'Qs*Ltt%-'flowlou
     OF6 rrT p{',
t1z/, ,an'                     .'W btn lzo^t Aj4-"'{" tL8'.hr.'.n-2/& PuP.J t *La
                 ,lr7 ^ t 7/ilft? l'
      y''.* r,rtP A(/tq' PVt,-'l                  {'", ti^rVa';A&A ^e' l'b'ile'
                                             lQ o++ t i P.-,",g'ri'rJ
      tlu/ oft&t, ,*,nJ ct u t rr','3 t(l-"u',v,a

     ilq,na-,''11''k{r             t,'            : -/lr'*1, ^tu           A        - Jt"g(T -J
                                               fr




                                                   t3"
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4i.o,.Zf i,:r^'#T'wt'fA{                     t ru'tal ,'           tu>h'f"t'Jcot
      L- , ,t '         ,. ' (. ', t?1 yht' H 'r-' bg "'"   {4-, | lN t}/- rt4h
   f.p           f,,{\"                    1
                 'ru,,u - '
  r     n^ r,           7(     t& .' ) U{& u,tf o{ Sttbu l      fa-h,, fbn luatul
 (' { l'        loj ) td- | ;{,'/'          tL' I Pu '( 1f4^{' -'' ' '4J

W"f b\r" t DJ l-"'L tbr
     "t'  ^b                                       tal -l I trlruqq F I qf
   F^ {,        ' rofl\, ' ll+            'ra                                               ,a


r,pX,nlltl^lrq,iz/at)*#Vr'' t",; -ue*u,l' /wqJ,' trtw                   t/w)lt<", r*
       Itt -ett h' bq F' fn ^ t-l'o ut',' a *t f ^ o{('
                                                    "   - ' ffu }'Qt'vco
       , nt flo' ,i n r( 17 ,r" , ?r ^ +{ .-rtrw" , (.-"r' k *u&*u:9,
  h *tlt,t      ,r'af y'r)^d t -ln,t t q, /r,^p /r 4't*1 try 4{ "' ; '>"o tu'r         t'        b'
  ,l- kHr;rHtt,'                 ttnr-^',-.r{" f -*, t2 '"b,n I I ,:9r' 't(,

t17. E&luri**ttu af r" Lt 8r, {.
                           u'r' k fua'' r&' &*"f4u)'l*'*l }ko'/'& ht't t^
   -pn" rt ' H*'Lu k ' n"^A't' "*oulo' ""'*I 4aL ftLn;-W 'A {'
                                                                   t'l
   , 'X kt tl-- / 'tO r, e       t:' ,3e t h% h' '

7re- n7f/6{'l !            ', t, ) lV,/q/r*+t""'*kf\nl' i'rau4n*f^'btf{au''h
       l.,nngt^#.1, ^9rr lt               , ,e !y"i ','             {^'r (,'tq               '

       i r't-   '-       "t,t\r'            { t,'1,'".
                                                                                 |
 r5l   , A- k y'L t t',' ,' ''- -?n"rj' rtt'rdnt 7//7/ ', "tot'a""J XA*tr /          ?tt
                                                                                           ^o ^1/orl

       (1". t*' t * t *,o .rry
                                     f,  F4' t' t 'all
g), fi 7fl7lt't d/wt,r-.l l,^ tht P ' n t1-,h" '{^''t h tilcF-<n h rerL'
            CASE 0:20-cv-01433-PAM-TNL Doc. 45 Filed 01/11/21 Page 16 of 19



5q.   nxlrlln [?',.^?
              u. t2\ tr-.qrw,e,,/. '       : ," P"tt'ntd""'{ 4<.F6 ,,,1"[ , .',I-
  f A+41*qx'                                                      {
 tud,
      "t
         tlc et" v,,   W'    14".,t  tt,; o"ar'l'     t     r'!   t I' P'&^;'^'{

    .'" ftnt tbn'"o ,t -      ' X/-,',', fl,,n qu*'6t lL- np! - ' l''uX4 ra-'
    fJ ' 1l ft' t r          'i, o r,-,t [-a+W' art\ ,n l"'t);'

                    rr 'W
as" O. t"ts/n f,a, Py
            F
  Fq'r l- ^    /'' ^, f,k'(pJ'-''/-No tTfi-bj 71*'t lt-t t r"' " I Y' kl
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       , *,,'" O,o,', ft           '' ,r'/n//n ,'("- F 'o# t*', o '
               {-olili"tsv.tk/' it, i f4oi"f&:* {"\-"r,'tyG
                                                                         '
 ,'twlr^o

f6" t tt"; f ,"/ /' " Ay f                                                     l rt'1414h"!kn'(
    tqcr-<' ovFefl-,'               \, l{       l' t'/        P ',L{r r',ll

    \,."1,'/;,.tft';                        itr&"9{'"'w.'             'tfa      ; f             {,




r                                                                    '*{ -t^'an/(4
    'lt t' t, rI r fu,t !,"tW t fL' ft' f                                             '*'ttp'
                                               fL' ln1.ul'blt)"^*'/"2'               t''
    ,a, " ' t^J'l*rltl"

5x.tu 6fb L4;i nn,K',fi E7' f"/o/                           '^t fLar''^ L'il
         -{*o f'1,    t" z,^ | €1 tlifrf,*t4jtbr
                   ",
      ,,AL t hr'4 rru {(r,""t, , fl.n pn r ' *h'bl \ bn*'ib-'u f/; ,a ,t '
 t "rV"^                                                                                                 r




 til 6 gtv g,,'*a f" ' ze^fn r^t \r fLo h"
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      tTln "//
                           - '{a^          Llutsl't"z, i,l' ttflc@    i''     * h -th'tt'Q
    5cl,fta,ti"                      ',i

     lll ot,,"l            ,nrf"nt'tFl't +fu,rdt:',tr                       rab{7o// |               '

     P ^V -/*l v"^lt-t6 t ,t,, ''T
 An.nl4tffn " '"& t$qXr rttl'                            f':fuloi 4q/           ' r'" 'l'r
     rw,a)'.-J t,r{   l,     lo      I{,*.'/.{a;.8{H            " ('tpu^PBa          f-w*Us


                                                    t,
             CASE 0:20-cv-01433-PAM-TNL Doc. 45 Filed 01/11/21 Page 17 of 19



, *tt<*Ltf, / ".' t^,, fl,uet\, !/r0,,-, e H,u,lel n'a' ,,1 ? "{r 4*l
,'" /.,,tu-r*r,u " .tm tl-6- t1)-

0t, r, N ttt*^z[q,. ! au              .a{   "    , LtaiT Wt-td,l* k A{
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 ?' *Nflft          lft*q SUBJF6'E6 W eRvvt- ',^ l' 't'}ulL Pvv$tJilts^ttr
                   lN llloLt+Tte^.1 pF TbrF vtq,w *''^*|6ALT'
('' " |'loiu#
                     ^ I       7nY4^ "'z- fb'+*tA-luf u^ V6 ' '{"'l/g }"" \"

    sloi,'              l,r /En',     t' ^'trbl 1"4 '7h'l-W/ll                          ''{,
  ,'tr-*'              tt | ( v $1,r W' ^ '{ P 'n{ tt' '' 9 l'
         t'
  9t' 24- / '^                    '

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          p'lt"       n i, rt/-,''    t|"7"(       '-'     i 6l^'{t'tfr^         or I
  -               -0 F o r.
      {

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   i ,Jt,Ftrt 'a I tNJt,Fg, C/J- ' 'tL ^ lpa */ y' td{'(.iirf gle4 6 r9@eM
  {noro ,va3, | 4''P-t,'irlil >PT\A, t4(r*tc'' " W*0
  h'.(a',*1 l''         t/'-.^{",{'        fh' al/**blr\,etwyL*!'t" "'a/
          i 4u Fr:t,,^ ,ft l? /uv^,A,, {1"a1 -; \ | v-,br23:." z t' l, "' |t' '
   f^ ' ,,,r
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      St^if ,nnu.h i* L " t1 M'r',"                 I   l, ' I Nntl4il.a'^'-'fr," "

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        CASE 0:20-cv-01433-PAM-TNL Doc. 45 Filed 01/11/21 Page 18 of 19




 b, Yttpw! "4'u'"L- ',t e,*l t h" '{ar -El"



  PLnuT'7D W*5 9VB)ec:Ert, To t',Uett. t- TpyrztTteu Aur.. ru vtoLaflntl
,F tlts \t,t<<*- ,TrV'e bt'E i2      g I tn*trf'a: Ftf 11 a" rb Fot'^zpufw
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    fl 'urtu        /1/144."1'12^^-ei   .




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    REgUEST FOR RELIEF

        A. Ordering Defendants to pay Plaintiffs,ooo,ooo dollars in actual damages.

        B. Ordering defendants to pay Plaintiffg,ooo,ooo dollars in punitive damages.

        C. Ordering defendants to pay all cost incurred in prosecution of this Lawsuit,
           including attorney's fees.

        D. Granting such further relief as this court deems just and proper




      PEGGY LWN SCHUMAKER
             NOTARY PUBIIC
                MINNESOIA
      W Corilfiillbn &phrt J|l. 3t. 2@4
                                          siEnature
                                            o       of Plaintiff:    %      rZ^/**
lUE,rqtEmrlqr                             Mailing Address :        47   e FtcualT ,n N
d"n-&-n&-.                                                        b,+t4 Po ftr, /4N gf ee g




                                          Telephone Number :        6rt- 72q - )7 tf7
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